        Case 4:18-cv-05286-PJH Document 207 Filed 03/29/22 Page 1 of 2



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                                             IntegrityMessageBoards.Com, LLC

                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                  OAKLAND DIVISION

INTEGRITYMESSAGEBOARDS.COM,                  Case No. 4:18-cv-05286 PJH
LLC,
                                             STIPULATION OF VOLUNTARY
                     Plaintiff,              DISMISSAL

       v.
                                             Hon. Phyllis J. Hamilton
META PLATFORMS, INC.,

                     Defendant.
         Case 4:18-cv-05286-PJH Document 207 Filed 03/29/22 Page 2 of 2




                               STIPULATION OF DISMISSAL

       Plaintiff IntegrityMessageBoards.com, LLC and Defendant Meta Platforms, Inc., by and

through counsel, hereby stipulate that this action shall be dismissed with prejudice pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.



IT IS SO STIPULATED.

DATED: March 29, 2022                        POMERANTZ LLP
                                             By: /s/ Jordan L. Lurie
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                                             Ari Y. Basser (SBN 272618)

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DATED: March 29, 2022                        GIBSON, DUNN & CRUTCHER LLP
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